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February 8, 2019

Hon. Sydne§,r H. Stein

United States District Judge
Southern Distict of New York
500 Pearl Street

Room 23A

New York, New Yorl< 10007

Re: I-Iitachi Data Systems Credit Corp. v. Precision Discovery Inc.

Civil Case No. 17-cv-06851(SHS)

I-Ion. Judge Stein:

I arn counsel to non-party Great American Insurance Company (“GAIC”) in
connection With a claim that Precision Discovery, Inc. (“Precision”) has submitted
under Crime Protection Policy No. SAA 4004332 02 00 (the “Policy”). I write in
regard to that part of Your Honor’s January 31, 2019 Order (ECF dkt # 97) (the
“January 31 Order”) that states, in relevant part, that “a representative of Great
American Insurance Company With settlement authority shall be present” at a

second round of mediation between Precision and Hitachi Data Systems Credit Corp.

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(“HDSCC”) who I understand are the parties to the above-referenced action. (GAIC
received notice of the January 31 Order on February 5, 2019 when a copy was
forwarded to it via email by Precision’s broker). For the reasons described below, I
respectfully request that the Court reconsider its command to GAIC to appear at the
mediation.

While I cannot speak to any representations that have been made to Your
Honor as GAIC is not a party to these proceedings, it appears to me that the Court
is under the misimpression that GAIC is Precision’s liability insurer and agreed to
indemnify Precision against claims by third-parties such as HDSCC. That is not the
case. Rather, the Policy provides first-party coverage to Precision for direct losses
sustained as a result of employee dishonesty. The New York Court of Appeals
explained the distinction:

Policies indemnifying against liability . . . obligate the
insurer to discharge an obligation owed by the insured to
another arising from some act of the insured, The risk
insured against is not injury to or loss of the property
named in the policy, but liability or responsibility of the
insured for loss or injury caused by the use of such
property. In contrast, under the employee dishonesty
coverage here, the insurance is against loss of property,
owned by or belonging to the insured or others, through
employee dishonesty. And the loss occurs when money or
other covered property is misappropriated from the
insured, irrespective of the capacity in which the insured
holds it. That the insured may be liable to a third party for
a loss of money resulting from employee dishonesty does
not transform a policy covering the insured against a direct

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loss into one indemnifying against liability[.] Nor does that

result obtain merely because plaintiff anticipated that the

fidelity coverage would operate by virtue of the insured’s

liability to it.
175 E. 74th Corp. v. Hartford Accident & Indem. Co., 51 N.Y.2d 585, 593 (1980)
(citations and quotations omitted). Accordingly, GAIC, under the Policy, cannot be
obligated to pay money to HDSCC for claims it might have against Precision, which
is typically the reason that an insurer will be required to participate in litigation
(including mediation) involving its insured,

But beyond the atypicality of having a first-party insurer participate in the
mediation of claims between the insured and third-parties, requiring GAIC to
participate in such a manner in these proceedings would greatly prejudice GAIC’s
rights under the Policy to investigate Precision’s claim. Unlike a liability policy,
GAIC is not obligated to indemnify its insured merely by virtue of the fact that a
judgment may be entered against the insured. Nor is GAIC obligated to pay its
insured merely by virtue of the fact that its insured has suffered a loss of some sort
that can be traced to acts of the insured’s employee. Rather, the obligation to pay
will turn on many intensive fact based determinations, such as the employee’s state
of mind and whether the loss (or specific parts of the loss) are actually the direct

result of the employee’s acts or Whether they can be attributed to other factors. To

date, GAIC’s investigation to enable it to make these determinations is still ongoing

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and, as I understand it, virtually no discovery has occurred in this action.
Accordingly, GAIC, by Virtue of being required to attend the mediation session,
would be encouraged to pay a claim under its Policy (perhaps to a third-party)
Without the benefit of a full investigation to determine whether the claim is even
covered.

In sum, while I can appreciate the Court’s desire to see this litigation resolved,
for the reasons stated above, GAIC is not a proper party to achieve that end.
Accordingly, GAIC respectfully requests that the Court revise the January 31 Order
to strike any obligation that GAIC attend the second mediation session.

Respectfully submitted,

ST|.§R; N. DRATCH
SND/ dam

ccc John A. Boudet , Esq.(Gray Robinson)
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